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UNITED STATES DISTRICT COURT " “""*

WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

GREG GRANDBERRY ,
Plaintiff,
v. Cv. No. 04-2876*Ma
RUBY GRIDGEFORTH, Postmaster,
United States Postal Service,

Memphis Front Street Installation,

Defendant.

JUDGMENT
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that this action is dismissed

with prejudice, in accordance with the Order Granting Defendant's
Motion to Dismiss, docketed May 19, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

